           Case 5:22-cv-01019-BLF Document 64 Filed 09/23/22 Page 1 of 11



1    JAMES R. WILLIAMS, County Counsel (S.B. #271253)
     BRYAN K. ANDERSON, Deputy County Counsel (S.B. #170666)
2    H. LUKE EDWARDS, Deputy County Counsel (S.B. #313756)
     OFFICE OF THE COUNTY COUNSEL
3    70 West Hedding Street, East Wing, Ninth Floor
     San José, California 95110-1770
4    Telephone: (408) 299-5900
     Facsimile: (408) 292-7240
5    bryan.anderson@cco.sccgov.org
     luke.edwards@cco.sccgov.org
6

7    Attorneys for Defendants
     COUNTY OF SANTA CLARA, SARA H. CODY,
8    JAMES WILLIAMS, and JEFFREY SMITH
9

10                                    UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF CALIFORNIA
11                                           (San José Division)

12

13 UNIFYSCC, an unincorporated California                         No. 22-CV-01019 BLF
   association on behalf of employees in Santa
14 Clara County; TOM DAVIS, an individual; and                    DEFENDANTS’ ANSWER TO
   MARIA RAMIREZ, an individual, and on behalf                    PLAINTIFFS’ FIRST AMENDED
15 of all others similarly situated; ELIZABETH                    COMPLAINT FOR DECLARATORY AND
   BALUYUT, individually, and on behalf of all                    INJUNCTIVE RELIEF AND DAMAGES
16 others similarly situated;

17                    Plaintiffs,

18   v.

19 SARA H. CODY, in her official capacity as the
   Santa Clara County Public Health Officer;
20 JAMES WILLIAMS, in his official capacity as
   the County Counsel of Santa Clara County;
21 JEFFREY SMITH, in his official capacity as the
   County Executive of Santa Clara County; and
22 SANTA CLARA COUNTY,

23                    Defendants.

24

25           Defendants County of Santa Clara (“County”), Sara H. Cody, James Williams, and Jeffrey
26   Smith, answer the Complaint for Declaratory and Injunctive Relief and Damages (hereinafter
27   “Complaint”) and allege as follows:
28   //
                                                              1
     Defendants’ Answer to Plaintiffs’ First Amended Complaint for                      22-CV-01019 BLF
     Declaratory and Injunctive Relief and Damages
           Case 5:22-cv-01019-BLF Document 64 Filed 09/23/22 Page 2 of 11



1            1.       Defendants admit that the COVID-19 pandemic was a worldwide health emergency
2    and that numerous governmental entities responded to contain the pandemic and save lives,
3    including the County. Defendants further admit that COVID-19 vaccines were developed and
4    approved for use in the United States and elsewhere. Defendants further admit that the County and
5    the Public Health Officer for the County responded to contain the COVID-19 pandemic and save
6    lives through vaccination policies and health orders. Defendants further admit that Plaintiffs sought
7    and were granted religious exemptions to COVID-19 vaccination pursuant to the County’s policy.
8    The remaining allegations in paragraphs 1 through 7 constitute an incomplete summary of vaccine
9    development, approval, and efficacy and the County’s vaccination and accommodation policy and
10   practices, and are legal conclusions and/or arguments, not facts, and, thus, Defendants are not
11   required to admit or deny but to the extent they are deemed factual allegations they are denied.
12           2.       Defendants admit that plaintiff Davis is employed by the County as an HVAC/R
13   technician and that plaintiffs Ramirez and Baluyut are each employed by the County as a registered
14   nurse. Defendants further admit that Plaintiffs each sought and received a religious exemption to the
15   County’s vaccination policy, and that they were accommodated through a leave of absence.
16   Defendants lack sufficient knowledge or information to form a belief as to the truth of the remaining
17   allegations contained in paragraphs 8 through 12 of the Complaint, and on that basis deny each and
18   every remaining allegation contained in these paragraphs.
19           3.       Defendants admit that Sara Cody is the Public Health Officer, James Williams is the
20   County Counsel, and Jeffrey Smith is the Chief Executive for the County. The remaining allegations
21   in paragraphs 13 through 15 constitute legal conclusions and/or arguments, not facts, and, thus,
22   Defendants are not required to admit or deny but to the extent they are deemed factual allegations
23   they are denied.
24           4.       Defendants admit that the County of Santa Clara is a charter county formed under the
25   laws of the State of California. The remaining allegations in Paragraph 16 constitute legal
26   conclusions and/or arguments, not facts, and, thus, Defendants are not required to admit or deny but
27   to the extent they are deemed factual allegations they are denied.
28   //
                                                              2
     Defendants’ Answer to Plaintiffs’ First Amended Complaint for                         22-CV-01019 BLF
     Declaratory and Injunctive Relief and Damages
           Case 5:22-cv-01019-BLF Document 64 Filed 09/23/22 Page 3 of 11



1            5.       The allegations in paragraphs 17 through 21 constitute legal conclusions and/or
2    arguments, not facts, and, thus, Defendants are not required to admit or deny but to the extent they
3    are deemed factual allegations they are denied.
4            6.       Defendants admit that the County issued a vaccination policy on August 5, 2021, that
5    this policy provided for exemptions for medical contraindications, disability, and religious belief,
6    that exempted employees are accommodated by the County, and that Exhibits A and B to the
7    Complaint are copies of memoranda issued by the County concerning the policy, which documents
8    speak for themselves. The remaining allegations in paragraph 22 through 26 constitute an
9    incomplete summary of the County’s vaccination and accommodation policy and practices, and are
10   legal conclusions and/or arguments, not facts, and, thus, Defendants are not required to admit or
11   deny but to the extent they are deemed factual allegations they are denied.
12           7.       Defendants admit that the County’s Public Health Officer issued a health order on
13   December 28, 2021, and that Exhibit C is a copy of a press release issued by the County concerning
14   this order, which document speaks for itself. The remaining allegations in paragraphs 27 and 28
15   constitute an incomplete summary of this order and legal conclusions, and/or arguments, not facts,
16   and, thus, Defendants are not required to admit or deny but to the extent they are deemed factual
17   allegations they are denied.
18           8.       Defendants admit that the County established a waiver process concerning the
19   December 28, 2021 vaccination health order, and that Exhibit D is a memorandum issued by the
20   County concerning this waiver process, which document speaks for itself. The remaining allegations
21   in paragraphs 29 and 30 constitute an incomplete summary of the County’s vaccination and
22   accommodation policy and practices, and are legal conclusions and/or arguments, not facts, and,
23   thus, Defendants are not required to admit or deny but to the extent they are deemed factual
24   allegations they are denied.
25           9.       Defendants admit that the County’s Public Health Officer issued a health order on
26   March 7, 2022. The remaining allegations in paragraph 31 constitute an incomplete summary of the
27   Health Order and the County’s vaccination and accommodation policy and practices, and are legal
28   conclusions and/or arguments, not facts, and, thus, Defendants are not required to admit or deny but
                                                       3
     Defendants’ Answer to Plaintiffs’ First Amended Complaint for                          22-CV-01019 BLF
     Declaratory and Injunctive Relief and Damages
           Case 5:22-cv-01019-BLF Document 64 Filed 09/23/22 Page 4 of 11



1    to the extent they are deemed factual allegations they are denied
2            10.      Defendants lack sufficient knowledge or information to form a belief as to the truth of
3    the allegations contained in paragraphs 32 through 34 of the Complaint, and on that basis deny each
4    allegation contained in these paragraphs.
5            11.      Defendants admit that the County accommodated employees exempted from the
6    vaccination policy. Defendants deny that employees with religious exemptions were discriminated
7    against or excluded from available accommodations. The remaining allegations in paragraphs 35
8    through 40 constitute an incomplete summary of the County’s accommodation policy and practices,
9    and constitute legal conclusions and/or arguments, not facts, and, thus, Defendants are not required
10   to admit or deny but to the extent they are deemed factual allegations they are denied.
11           12.      Defendants lack sufficient knowledge or information to form a belief as to the truth of
12   the allegations contained in paragraphs 41 and 42 of the Complaint, and on that basis deny each and
13   every allegation contained in this paragraph.
14           13.      Defendants admit that on June 30, 2022, the Court issued an order granting in part
15   and denying in part a motion for preliminary injunction, which order speaks for itself. The
16   remaining allegations in paragraphs 43 through 45 constitute an incomplete summary of the order
17   and Defendants compliance, and are legal conclusions and/or arguments, not facts, and, thus,
18   Defendants are not required to admit or deny but to the extent they are deemed factual allegations
19   they are denied.
20           14.      Defendants admit that the Centers for Disease Control and Prevention (CDC) has
21   provided guidance concerning the benefits and risks of approved vaccines to prevent illness, injury,
22   and death from COVID-19. The remaining allegations in paragraphs 46 through 50 constitute an
23   incomplete summary of CDC guidance, public health data, and the efficacy of vaccination, and
24   constitute legal conclusions and/or arguments, not facts, and, thus, Defendants are not required to
25   admit or deny but to the extent they are deemed factual allegations they are denied.
26           15.      The allegations in paragraphs 51 through 62 constitute legal conclusions and/or
27   arguments, not facts, and, thus, Defendants are not required to admit or deny but to the extent they
28   are deemed factual allegations they are denied.
                                                              4
     Defendants’ Answer to Plaintiffs’ First Amended Complaint for                           22-CV-01019 BLF
     Declaratory and Injunctive Relief and Damages
           Case 5:22-cv-01019-BLF Document 64 Filed 09/23/22 Page 5 of 11



1            16.      The allegations in paragraphs 63 through 71 constitute an incomplete summary of the
2    County’s accommodation policy and practices and supporting evidence, and constitute legal
3    conclusions and/or arguments, not facts, and, thus, Defendants are not required to admit or deny but
4    to the extent they are deemed factual allegations they are denied.
5            17.      The allegations in paragraphs 72 through 78 constitute an incomplete summary of the
6    County’s accommodation policy and practices, and constitute legal conclusions and/or arguments,
7    not facts, and, thus, Defendants are not required to admit or deny but to the extent they are deemed
8    factual allegations they are denied.
9            18.      The allegations in paragraphs 79 through 85 constitute an incomplete summary of the
10   County’s accommodation policy and practices, and constitute legal conclusions and/or arguments,
11   not facts, and, thus, Defendants are not required to admit or deny but to the extent they are deemed
12   factual allegations they are denied
13           19.      The allegations in paragraphs 86 through 89 constitute an incomplete summary of the
14   County’s accommodation policy and practices, and constitute legal conclusions and/or arguments,
15   not facts, and, thus, Defendants are not required to admit or deny but to the extent they are deemed
16   factual allegations they are denied.
17           20.      The allegations in paragraphs 90 through 93 constitute an incomplete summary of the
18   County’s accommodation policy and practices, and constitute legal conclusions and/or arguments,
19   not facts, and, thus, Defendants are not required to admit or deny but to the extent they are deemed
20   factual allegations they are denied.
21           21.      The allegations in paragraphs 94 through 97 constitute an incomplete summary of the
22   County’s accommodation policy and practices, and constitute legal conclusions and/or arguments,
23   not facts, and, thus, Defendants are not required to admit or deny but to the extent they are deemed
24   factual allegations they are denied.
25                                       FIRST AFFIRMATIVE DEFENSE
26                                               (Lack of Jurisdiction)
27           22.      As a separate, distinct, and affirmative defense to the First Amended Complaint, and
28   to each and every cause of action contained therein, these answering Defendants allege that this
                                                       5
     Defendants’ Answer to Plaintiffs’ First Amended Complaint for                         22-CV-01019 BLF
     Declaratory and Injunctive Relief and Damages
           Case 5:22-cv-01019-BLF Document 64 Filed 09/23/22 Page 6 of 11



1    Court has no jurisdiction over the subject of the causes of action alleged in the First Amended
2    Complaint, and each cause of action, against these answering Defendants.
3                                      SECOND AFFIRMATIVE DEFENSE
4                                             (Failure To State a Claim)
5            23.      As a separate, distinct, and affirmative defense to the First Amended Complaint, and
6    to each and every cause of action contained therein, these answering Defendants allege that neither
7    the First Amended Complaint nor any of its purported causes of action state facts sufficient to
8    constitute a claim upon which relief can be granted.
9                                       THIRD AFFIRMATIVE DEFENSE
10                                              (Statute of Limitations)
11           24. As a separate, distinct, and affirmative defense to the First Amended Complaint, and to
12   each and every cause of action, Defendants allege that Plaintiffs’ First Amended Complaint, and
13   each cause of action, is barred by the applicable statute of limitations.
14                                     FOURTH AFFIRMATIVE DEFENSE
15                                                   (Actual Cause)
16           25.      As a separate, distinct, and affirmative defense to the First Amended Complaint, and
17   to each and every cause of action contained therein, these answering Defendants allege that the acts
18   alleged in the First Amended Complaint, on the part of these answering Defendants, did not actually
19   cause the injuries complained of by Plaintiffs. As such, these answering Defendants are not liable
20   for the injuries complained of herein.
21                                      FIFTH AFFIRMATIVE DEFENSE
22                                                    (Good Faith)
23           26.      As a separate, distinct, and affirmative defense to the First Amended Complaint, and
24   to each and every cause of action contained therein, these answering Defendants allege that neither
25   the First Amended Complaint nor any of its purported causes of action state a claim upon which
26   relief can be granted because at all times Defendants acted within the scope of their discretion, with
27   due care and in good faith fulfillment of their responsibilities pursuant to applicable statutes, rules,
28   regulations and practices, within the bounds of reason under all the circumstances known to them,
                                                        6
     Defendants’ Answer to Plaintiffs’ First Amended Complaint for                             22-CV-01019 BLF
     Declaratory and Injunctive Relief and Damages
           Case 5:22-cv-01019-BLF Document 64 Filed 09/23/22 Page 7 of 11



1    and with a good faith belief that their actions comported with all applicable federal and state laws.
2                                       SIXTH AFFIRMATIVE DEFENSE
3                                              (Discretionary Immunity)
4              27.    As a separate, distinct, and affirmative defense to the First Amended Complaint, and
5    to each and every cause of action contained therein, these answering Defendants allege that any acts
6    on the part of these answering Defendants, or their employees, if any there may have been, were
7    discretionary, and not ministerial in nature. As such, these answering Defendants are not liable for
8    the injuries complained of herein.
9                                     SEVENTH AFFIRMATIVE DEFENSE
10                                              (No Violation of Rights)
11             28.    As a separate, distinct, and affirmative defense to the First Amended Complaint, and
12   to each and every cause of action contained therein, these answering Defendants deny that they have
13   deprived the Plaintiffs of any rights, privileges, or immunities guaranteed by the laws or Constitution
14   of the United States or by the laws or Constitution of the State of California.
15                                     EIGHTH AFFIRMATIVE DEFENSE
16                                               (Failure To Mitigate)
17             29.    As a separate, distinct, and affirmative defense to the First Amended Complaint, and
18   to each and every cause of action contained therein, these answering Defendants allege that Plaintiffs
19   have failed to mitigate any or all of the damages alleged in the First Amended Complaint and is
20   thereby precluded from recovering those damages which could have reasonably been avoided by the
21   exercise Plaintiffs’ part.
22                                      NINTH AFFIRMATIVE DEFENSE
23                                                       (Laches)
24             30.    As a separate, distinct, and affirmative defense to the First Amended Complaint, and
25   to each and every cause of action contained therein, these answering Defendants allege that Plaintiffs
26   are barred from obtaining injunctive relief or other equitable relief by reason of the doctrine of
27   laches.
28   //
                                                              7
     Defendants’ Answer to Plaintiffs’ First Amended Complaint for                           22-CV-01019 BLF
     Declaratory and Injunctive Relief and Damages
           Case 5:22-cv-01019-BLF Document 64 Filed 09/23/22 Page 8 of 11



1                                       TENTH AFFIRMATIVE DEFENSE
2                                    (Exhaustion Of Administration Remedies)
3            31.      As a separate, distinct, and affirmative defense to the First Amended Complaint, and
4    to each and every cause of action contained therein, these answering Defendants allege that each and
5    every cause of action of the First Amended Complaint is barred in that Plaintiffs have failed to
6    exhaust their administrative remedies, including but not limited to statutory remedies, remedies
7    provided by any applicable court order, and by any applicable collective bargaining agreement.
8                                    ELEVENTH AFFIRMATIVE DEFENSE
9                                    (Compliance with State and Federal Law)
10           32.      As and for a separate and affirmative defense to the First Amended Complaint on file
11   herein, these answering Defendants allege that all actions taken by them (and/or their employees)
12   comported with all state and federal law.
13                                    TWELFTH AFFIRMATIVE DEFENSE
14                                           (Policy, Custom or Practice)
15           33.      As a separate, distinct, and affirmative defense to the First Amended Complaint, and
16   to each and every cause of action contained therein, these answering Defendants allege that they
17   have no policy, custom or practice which violates any person’s civil rights.
18                                 THIRTEENTH AFFIRMATIVE DEFENSE
19                                              (No Established Rights)
20           34.      As a separate and affirmative defense to the First Amended Complaint, these
21   answering Defendants allege that at the time of the events alleged by Plaintiffs there were not clearly
22   established constitutional or statutory rights of which the answering Defendants knew, or should
23   have known, which required these answering Defendants to act differently. These answering
24   Defendants therefore allege that they are immune from liability.
25                                 FOURTEENTH AFFIRMATIVE DEFENSE
26                                                (Protected Activity)
27           35.      As a separate, distinct, and affirmative defense to the First Amended Complaint, and
28   to each and every cause of action contained therein, these answering Defendants alleges that
                                                       8
     Defendants’ Answer to Plaintiffs’ First Amended Complaint for                          22-CV-01019 BLF
     Declaratory and Injunctive Relief and Damages
           Case 5:22-cv-01019-BLF Document 64 Filed 09/23/22 Page 9 of 11



1    Plaintiffs were not subjected to any adverse employment action related to any protected activity in
2    which Plaintiffs may have engaged.
3                                    FIFTEENTH AFFIRMATIVE DEFENSE
4                                           (Reasonable Accommodation)
5            36.      As a separate, distinct, and affirmative defense to the First Amended Complaint, and
6    to each and every cause of action contained therein, these answering Defendants allege that
7    accommodations sought by Plaintiffs were provided and any other accommodations sought would
8    impose an undue hardship on defendants in that such accommodations would be burdensome and
9    negatively impact the operation of the business.
10                                  SIXTEENTH AFFIRMATIVE DEFENSE
11                            (Policies Prohibiting Discrimination and Retaliation)
12           37.      As a separate, distinct, and affirmative defense to the First Amended Complaint, and
13   to each and every cause of action contained therein, these answering Defendants allege that the
14   County and its agents have established and enforced, at all relevant times, policies prohibiting
15   discrimination and retaliation, and that Defendants and their agents took all reasonable steps to
16   prevent and/or promptly remedy any discrimination or retaliation, if in fact any such conduct ever
17   occurred.
18                                SEVENTEENTH AFFIRMATIVE DEFENSE
19                                                 (Lack of Standing)
20           38.      As a separate, distinct, and affirmative defense to the First Amended Complaint, and
21   to each and every cause of action contained therein, these answering Defendants allege that Plaintiffs
22   lack standing to maintain the present action or to obtain relief herein.
23                                 EIGHTEENTH AFFIRMATIVE DEFENSE
24                                            (Adequate Remedy at Law)
25           39.      As a separate, distinct, and affirmative defense to the First Amended Complaint, and
26   to each and every cause of action contained therein, these answering Defendants allege that Plaintiffs
27   have adequate remedies at law and are therefore not entitled to equitable relief herein on any cause
28   of action alleged.
                                                              9
     Defendants’ Answer to Plaintiffs’ First Amended Complaint for                          22-CV-01019 BLF
     Declaratory and Injunctive Relief and Damages
          Case 5:22-cv-01019-BLF Document 64 Filed 09/23/22 Page 10 of 11



1                                   NINTEENTH AFFIRMATIVE DEFENSE
2                                               (No Irreparable Harm)
3            40.      As a separate, distinct, and affirmative defense to the First Amended Complaint, and
4    to each and every cause of action contained therein, these answering Defendants allege that the acts
5    and omissions alleged herein will in no manner cause irreparable harm to Plaintiffs herein.
6                                   TWENTIETH AFFIRMATIVE DEFENSE
7                                                       (Ripeness)
8            41.      As a separate, distinct, and affirmative defense to the First Amended Complaint, and
9    to each and every cause of action contained therein, these answering Defendants allege that
10   Plaintiffs’ claims are barred by the doctrine of ripeness.
11                                TWENTY-FIRST AFFIRMATIVE DEFENSE
12                                                      (Mootness)
13           42.      As a separate, distinct, and affirmative defense to the First Amended Complaint, and
14   to each and every cause of action contained therein, these answering Defendants allege that
15   Plaintiffs’ claims are moot in whole or part.
16                              TWENTY-SECOND AFFIRMATIVE DEFENSE
17                                                  (Civil Code § 47)
18           43.      As a separate, distinct, and affirmative defense to the First Amended Complaint, and
19   to each and every cause of action contained therein, these answering Defendants allege Plaintiff’s
20   First Amended Complaint, and each cause of action, is barred by the privileges contained in Civil
21   Code § 47.
22                               TWENTY-THIRD AFFIRMATIVE DEFENSE
23                                                      (Estoppel)
24           44.      As a separate, distinct, and affirmative defense to the First Amended Complaint, and
25   to each and every cause of action contained therein, these answering Defendants allege Plaintiff’s
26   Plaintiffs are estopped by Plaintiffs’ own conduct from asserting any cause of action against
27   Defendants.
28   //
                                                             10
     Defendants’ Answer to Plaintiffs’ First Amended Complaint for                         22-CV-01019 BLF
     Declaratory and Injunctive Relief and Damages
           Case 5:22-cv-01019-BLF Document 64 Filed 09/23/22 Page 11 of 11



1              WHEREFORE, Defendants prays as follows:
2              1.     That Plaintiffs take nothing by their First Amended Complaint;
3              2.     That Plaintiffs’ First Amended Complaint be dismissed with prejudice;
4              3.     That Defendants be awarded their costs of suit incurred herein including attorney’s
5    fees; and
6              4.     For such other and further relief as the Court deems proper.
7                                          DEMAND FOR JURY TRIAL
8              Defendants hereby demand a trial by jury in this matter.
9    Dated: September 23, 2022                                Respectfully submitted,
10                                                            JAMES R. WILLIAMS
                                                              COUNTY COUNSEL
11

12                                                       By: /s/ Bryan K. Anderson
                                                             BRYAN K. ANDERSON
13                                                           Deputy County Counsel
14                                                            Attorneys for Defendants
                                                              COUNTY OF SANTA CLARA, SARA H.
15                                                            CODY, JAMES WILLIAMS, and JEFFREY
                                                              SMITH
16   2700414


17

18

19

20

21

22

23

24

25

26

27

28
                                                             11
     Defendants’ Answer to Plaintiffs’ First Amended Complaint for                          22-CV-01019 BLF
     Declaratory and Injunctive Relief and Damages
